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UNITED STATES OF AMERICA,                   CASE NO. 15CR2005-WQH

                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
ALMA VERONICA TORRES-VILLEGAS
(01) ,

                       Defendant.


          IT APPEARING that the defendant is now ent              led to be discharged
for the reason that:

    an indictment has been filed in another case against the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudice; or

    the Court has dismissed the case for unnecessary delay; or

~   the Court has granted the motion of the Government for dismissal; or

    the Court has granted the motion of the defendant for a judgment of
    acquittal; or

    a jury has been waived, and the Court has found the defendant not
    guilty; or

    the jury has returned its verdict, finding the defendant not guilty;

~   of the offense(s} as charged in the Information:

      8 USC 1324 (a) (I) (A) (ii), (v) (II) and (a) (I) (B) (i)



          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 08/27/15

                                            RUBEN B. ~B.BROOKS
                                                    U.S. MAGISTRATE JUDGE
